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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF TEXAS
                                    SHERMAN DIVISION

FRENCH CROOK, III, as TRUSTEE OF THE              §
HARBOR LIGHTS 2625 LAND TRUST,                    §
                                                  §
vs.                                               §     Civil Action No. 4:22-CV-418-ALM-KPJ
                                                  §
AMERIHOME MORTGAGE COMPANY,                       §
LLC                                               §


                                  STIPULATION OF DISMISSAL

         Pursuant to Federal Rule of Civil Procedure 41(a), Plaintiff French Crook, III, as Trustee

 of the Harbor Lights 2625 Land Trust (“Plaintiff”) files this Stipulation of Dismissal (the

 “Stipulation”), and would respectfully show as follows:

         1.      Plaintiff commenced this action against defendant AmeriHome Mortgage

 Company, LLC (“AmeriHome”) on March 25, 2022, which was thereafter removed to this Court

 on May 17, 2022.

         2.      Plaintiff no longer desires to pursue any of his claims against AmeriHome and,

 pursuant to FED. R. CIV. P. 41(a), hereby dismisses all claims that were asserted in this action.

         3.      This is not a class action, no receiver has been appointed and AmeriHome has not

 filed a counterclaim against Plaintiff. As evidenced by its counsel’s signature below, AmeriHome

 has stipulated to this dismissal by Plaintiff.

         Accordingly, Plaintiff French Crook, III, as Trustee of the Harbor Lights 2625 Land Trust

 respectfully requests that the Court approve the Stipulation and enter an order dismissing the

 above-entitled and numbered civil action, with all costs being assessed to the party incurring same.
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                                           Respectfully submitted,


                                           By:/s/ Kenneth S. Harter
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                                           III, AS TRUSTEE OF THE HARBOR LIGHTS
                                           2625 LAND TRUST


 STIPULATED AND AGREED:


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 ATTORNEY FOR DEFENDANT,
 AMERIHOME MORTGAGE COMPANY, LLC




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